Case: 5:22-cv-01454-CEH Doc #: 1-4 Filed: 08/15/22 1 of 3. PagelD #: 18

EXHIBIT A
Case: 5:22-cv-01454-CEH Doc #: 1-4 Filed: 08/15/22 2 of 3. PagelD #: 19

WIA2021 Gmail - Order #1042 confirmed

¢ Gmail Karl Forseil <fforec@gmail.com>

Order #1042 confirmed

1 message

FPGA Land <noreply@ipga.land> 7 June 2018 at 14:59
To; irsl@ftmtnet

FPGA Land ORDER #1042

Thank you for your purchase!

Hi Carl, we're getting your order ready to be shipped. We will notify you when it
has been sent.

View your arcdar or Visit our store

Order summary

VCU1525 - Blockchain Edition (With Mods} x 4

$14,400.00
16GB
Subtotal $14,400.00
Shipping $130.64
Total $14,530.64 USD

Customer information

Shipping address Billing address

hilps://mail. google.com/meail/w07ik=820865{d 1 B&view=pt&search—all&permithid—thread-f3A 1602645 | 79565544 | 50& simspl=insg-[%3A 1602645 179565544 [50 1/2
Case: 5:22-cv-01454-CEH Doc #: 1-4 Filed: 08/15/22 3 of 3. PagelD #: 20

24/2021 Gmail ~ Order #1042 confirmed
Carl Forsell Cari Forsell
8 St Martin's Dr 8 St Martin's Dr
#03-21 St Martin Residence #03-21 St Martin Residence
Singapore 258005 Singapore 258005
Singapore Singapore
Shipping rnethod Payment method
Worldwide Paypal — $14,530.64

If you have any questions, reply to this email or contact us ai noreply@fpga.land

hitps://maii, google.com/mailéw/07ik=820865fd18&view=pi&search=all &permthid=thread-f£%3A 1602645 | 79565544 | 50&si mpl=msg-T%3A 1602645 [79565544 1 50 2/2,
